          Case 1:19-cv-00040-CW Document 7 Filed 07/16/19 Page 1 of 5




Robert B. Sykes (3180)
Alyson C. McAllister (9886)
C. Peter Sorensen (16728)
SYKES MCALLISTER LAW OFFICES, PLLC
311 South State Street, Suite 240
Salt Lake City, Utah 84111
Telephone (801) 533-0222
bob@sykesmcallisterlaw.com
alyson@sykesmcallisterlaw.com
pete@sykesmcallisterlaw.com
Attorneys for Plaintiff



                   IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH


                                                     Case No. 1:19-cv-00040-CW
 IN THE MATTER OF
                                                         PETITION FOR:
        D.M., a minor                             1) APPROVAL OF A MINOR’S
                                                SETTLEMENT, 2) APPOINTMENT
                                                     OF A CONSERVATOR, 3)
                                                        PERMISSION TO
                                                ENDORSE SETTLEMENT CHECK,
                                                     AND 4) AUTHORITY TO
                                                      EXECUTE A RELEASE

                                                        Judge Clark Waddoups




              Petitioner, Brenda Mayes, natural parent and legal guardian of D.M.,

represents to the Court as follows:

              1.     Parent. Petitioner is the biological parent and legal guardian of D.M.,

a minor. They reside in Davis County, Utah.
          Case 1:19-cv-00040-CW Document 7 Filed 07/16/19 Page 2 of 5




              2.      Minor D.M. (DOB: XX/XX/2006). D.M. is a minor child, 13 years

of age, whose legal residence is with Petitioner. He was born in 2006 and will turn 18 years

of age in 2024.

              3.      Venue. Pursuant to § 75-5-403, venue is proper in this Court because

the minor is a resident of the State of Utah, Northern District, and the settlement proceeds

will be deposited in a client trust account on his behalf in Davis County, State of Utah,

Northern District.

              4.      Settlement of Civil Rights Action. On February 4, 2019, D.M. was

exiting a school bus when the driver closed the bus doors on his backpack and proceeded

to drive about 150 feet with D.M. suspended from his backpack outside the bus door. A

settlement of the civil rights and Title VI claims against the bus driver and all other

Defendants has now been reached in the amount of $62,500, which includes $21,250 for

D.M. and $41,250 for §1983 attorney fees and costs. This is a fair settlement. Petitioner

acknowledges and agrees that the settlement amount is fair and reasonable and should be

approved by this Court.

              5.      Attorney Fees. On behalf D.M., Petitioner retained Sykes McAllister

Law Offices, P.L.L.C to represent D.M. for his claims against the above listed Defendants.

The retainer provided for payment of a contingency fee of 40% on any settlement, or the

hourly fees actually incurred, whichever is greater. In this case the hourly fees incurred

were approximately $47,097. Attorneys have agreed to reduce this amount to $41,250,

inclusive of all fees and costs.

                                             2
          Case 1:19-cv-00040-CW Document 7 Filed 07/16/19 Page 3 of 5




               6.     Costs. Petitioner has also agreed to the pay costs of litigation. The

outstanding costs owed in this case are less than $1000, which amount is included in the

total of $41,250 paid to Attorneys. Petitioner will present an itemization of these costs at

the hearing.

               7.     Liens and Medical Bills. There was no medical treatment obtained

as a result of this incident, and thus there are no outstanding liens or medical bills.

               8.     Consent. Brenda Mayes, the minor’s mother, has consented to act as

Conservator of the estate of D.M. See Utah Code Ann. § 75-5-413.

               9.     Legal Authority to Settle. Pursuant to Utah Code Ann. § 78B-3-102,

a parent or guardian “may bring an action for the injury of a minor child when the injury

is caused by the wrongful act or neglect of another.”

               10.    Conservator. Petitioner should be appointed Conservator of the

estate of D.M. because the estate requires management and protection that cannot

otherwise be provided.

               11.    Release. Based upon the settlement agreement, Petitioner should be

allowed to execute a valid and enforceable mutual release of the minor child’s claims.

               12.    Waiver of Bond. Given the facts specified herein and considering the

amount that shall be recovered in settlement, Petitioner should not be burdened with the

expense of furnishing a bond. See Utah Code Ann. § 75-5-411.




                                               3
          Case 1:19-cv-00040-CW Document 7 Filed 07/16/19 Page 4 of 5




              13.    Order. Petitioner requests an Order from the Court approving

payment of fees and costs in accordance with the retainer agreement. See Utah Code Ann.

§ 75-5-409.

              WHEREFORE, Petitioner requests the Court enter an Order as follows:

              1.     Appointing Petitioner Brenda Mayes as Conservator of the estate of

D.M., a minor child, to serve indefinitely and without bond;

              2.     Authorizing Conservator to approve the minor’s settlement as fair and

reasonable;

              3.     Authorizing Conservator to execute any General Release on behalf of

D.M.;

              4.     Authorizing Conservator to endorse any settlement checks on behalf

of D.M. and/or to execute a power of attorney on behalf of D.M.’s Attorneys to endorse

any settlement checks and deposit them in the D.M. Settlement Trust Account, also known

as the Sykes McAllister Trust Account;

              5.     Authorizing payment of $41,250 for attorney fees and costs, to be paid

to Attorneys Sykes McAllister Law Offices, P.L.L.C, as described above;

              6.     Approving the remaining $21,250 to be placed in a trust account for

the minor child, D.M.;

              8.     Approving release of up to $500 per school year, without further court

order, for D.M. to attend one or more camps directed toward African American youth

and/or other activities where he can feel safe and included.

                                             4
               Case 1:19-cv-00040-CW Document 7 Filed 07/16/19 Page 5 of 5




                    9.         Approving release of up to $1000 upon entry of high school, without

further court order, for purchase of a laptop to be used for school related purposes.

                    10.        Approving release of up to $5000 upon D.M.’s sixteenth birthday for

purchase of a car, without further court order, which can be used for transportation to and

from school and school related activities.

                    11.        Approving release of all remaining funds to D.M., without any further

court order, upon his 18th birthday;

                    12.        For such other and further Order as the Court deems just and proper.

                    DATED this 16th day of July, 2019.
                                                     SYKES MCALLISTER LAW OFFICES, PLLC

                                                     /s/ Alyson C. McAllister
                                                     Alyson C. McAllister
                                                     Attorney for Petitioner




                     I, Brenda Mayes, hereby consent to act as Conservator of D.M. estate, and
declare under penalty of perjury that the foregoing is true and correct.


                                                     /s/ Brenda Mayes (with permission)
                                                     Brenda Mayes, Petitioner



Q:\CLIENT\3270 MAYES\2. P\2.8 MINOR'S SETTLEMENT\190712.Petition for Minor Settlement.docx




                                                                    5
